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                                    MINUTES



 CASE NUMBER:            CR NO. 17-00101LEK
 CASE NAME:              USA vs. (01) ANTHONY T. WILLIAMS
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


      JUDGE:      Leslie E. Kobayashi          REPORTER:

      DATE:       05/22/2019                   TIME:


COURT ACTION: EO: COURT ORDER GRANTING THE GOVERNMENT’S
MOTION FOR MISCELLANEOUS RELIEF RELATING TO ITS RESPONSE TO
DEFENDANT’S SECOND MOTION TO COMPEL

       On April 10, 2019, pro se Defendant Anthony T. Williams (“Defendant”) filed his
Second Motion to Compel (“Defendant’s Motion”). [Dkt. no. 459.] Plaintiff the United
States of America’s (“Government”) memorandum in opposition to Defendant’s Motion
was due on May 17, 2019. [EO: Court Order Regarding Briefing Deadlines etc., filed
5/13/19 (dkt. no. 478).] The Government filed its response to Defendant’s Motion
(“Response”) at 12:22 a.m. on May 18, 2019. [Dkt. no. 482.]

        Before the Court is the Government’s Motion for Miscellaneous Relief Relating
to Its Response to Defendant’s Second Motion to Compel (“Government’s Motion”),
filed on May 20, 2019. [Dkt. no. 483.] The Government states: 1) the Response was
filed late due to technical difficulties with the district court’s electronic case filing
system; and 2) the Government inadvertently filed an unredacted version of Exhibit B to
the Response. As to the first matter, the Court FINDS that the Government’s filing of
the Response after the May 17, 2019 deadline was excusable. As to the second matter,
the Court FINDS that there is good cause to redact the contact information in Exhibit B
to the Response. See Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101
(9th Cir. 2016) (holding that public access to a filed motion and its attachments “will
turn on whether the motion is more than tangentially related to the merits of a case”).

     The Government’s Motion is therefore GRANTED, and the Government’s
Response is DEEMED WITHDRAWN. The Clerk’s Office is DIRECTED to restrict
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access to docket number 482 to court employees only. The Government is GRANTED
leave to re-file its Response, with the redacted version of Exhibit B, by no later than
May 24, 2019.

      Defendant’s optional reply in support of Defendant’s Motion remains due on
June 7, 2019.

      IT IS SO ORDERED.

Submitted by: Warren N. Nakamura, Courtroom Manager
